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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

UNITED STATES OF AMERICA,         )
                                  )
          Plaintiff,              )
                                  )
     v.                           )   CASE NO.: 2:19-MC-3900-WKW
                                  )              [WO]
GLENN EDWARD NUTT,                )
                                  )
          Defendant,              )
                                  )
MORGAN STANLEY,                   )
                                  )
          Garnishee.              )
__________________________________________________________________

UNITED STATES OF AMERICA,             )
                                      )
           Plaintiff,                 )
                                      )
     v.                               )    CASE NO.: 2:19-MC-3903-WKW
                                      )               [WO]
GLENN EDWARD NUTT,                    )
                                      )
           Defendant,                 )
                                      )
WELLS FARGO BANK, N.A.,               )
                                      )
          Garnishee.                  )

                                    ORDER
      On August 27, 2020, the Magistrate Judge filed a Recommendation to which no

timely objections have been filed. (Doc. # 17.) Upon an independent review of the

record, it is ORDERED as follows:
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      (1)   The Recommendation (Doc. # 17) is ADOPTED;

      (2)   The Order consolidating these cases is VACATED (Doc. # 16 in the lead

case, and Doc. # 15 in the member case); and

      (3)   Defendant’s motion for joinder/consolidation (Doc. # 8 in the companion

case) is DENIED as moot.

      The Clerk of the Court is DIRECTED to file a copy of this Order and the

Recommendation in United States. v. Nutt, 2:19-MC-3903-WKW (M.D. Ala. 2019).

      DONE this 28th day of September, 2020.


                                           /s/ W. Keith Watkins
                                        UNITED STATES DISTRICT JUDGE




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